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                        IN IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                   MARSHALL DIVISION

  DISPLAY TECHNOLOGIES, LLC,

                         Plaintiff,                  Civil Action No. 2:15-cv-998-JRG-JRP
                   v.                                   CONSOLIDATED LEAD CASE
  NVIDIA CORPORATION, et al.,                             JURY TRIAL DEMANDED
                         Defendants.


                        MOTION FOR CLERK’S ENTRY OF DEFAULT

        Plaintiff Display Technologies, LLC (“Display”) hereby requests that the Clerk of the

 above-entitled Court enter default in this matter against defendant NVIDIA Corporation

 (“Defendant”) on the ground that Defendant failed to appear or otherwise respond to Display’s

 Complaint within the time prescribed by the Federal Rules of Civil Procedure. Display served its

 Complaint and Summons in this matter upon Defendant on June 19, 2015, as evidenced by the

 Return of Service Executed on file with this Court (Dkt. No. 13).

        The above stated facts are set forth in the accompanying Affidavit of Krystal L. McCool

 filed herewith.
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        DATED April 21, 2016.                          Respectfully submitted,

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                                                       ATTORNEYS FOR PLAINTIFF
                                                       DISPLAY TECHNOLOGIES, LLC




                                  CERTIFICATE OF SERVICE

         I hereby certify that on the 21st day of April, 2016, I electronically filed the foregoing
 document with the clerk of the court for the U.S. District Court, Eastern District of Texas, Marshall
 Division, using the electronic case filing system of the court. The electronic case filing system
 sent a “Notice of Electronic Filing” to the attorneys of record who have consented in writing to
 accept this Notice as service of this document by electronic means.

                                               /s/ Stevenson Moore___
                                               Stevenson Moore
